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AUSA: John B. Meixner .lr.
Ao 91 (Rev. 11/11 ) criminal Cumplaim SP€CiHl Ag€ntf S€an Cal|aghan

UNITED STATES DISTRICT COURT

for the

Telephone: (734) 334-3815
Telephone: (3 l 3) 720-9596

Eastern District ofl\/lichigan
United States of America
v.

Brandon Griesemer

Case: 2;18-mi*3004_0
Assigned To : Unass\gned
Assign. Date: 1119/2018
Description; lN RE SEALED
MATTER(BG)

CRIMINAL COMPLAINT

l, the complainant in this case, State that the following is true to the best ot" my knowledge and belief.

On or about the date(S) of January 9'-101 2018

 

in the county ot` Oakland in the
Eastem District of Michigan , the defendant(S) Violated:
Code Section ()jj"tense Descriptton
18 U.S.C. 375(0)

lnterstate Communications With Intent to Extort - threat to injure

This criminal complaint is based on these facts:
See attached affidavit

Continued on the attached Sheet.

W

 

 

 

\"'"/ Cord§$ir%t’s signature
Special Agent Sean Cailaghan, FBl
Printed name and title
Sworn to before me and signed in my presence
___ p ,¢_\_

513 » "\--___
Date: lattan 19a 2018 Judge’$ signature
Cily and state: Detroit, Ml

 

Anthony P. Patti, Magistrate Judge

Printed name and title

 

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AFFIDAVIT

l, Sean Callaghan, being duly sworn, state the following:

I. INTRODUCTION AND AGENT BACKGROUND

`1. I am a Special Agent with the Federal Bureau of Investigation
(FBI) and have investigated a variety of violations, including violent
crimes, as an FBI agent for over 14 years.

2. The information contained in this affidavit is based on my
personal knowledge and Observations during the course of this
investigation, law enforcement reports that l have reviewed,
communications with others who have personal knowledge of the events
and circumstances described in this affidavit, and information gained
through my training and experience

3. This affidavit is in support of a complaint and arrest warrant
for Brandon Griesemer. Because this affidavit is being submitted for the
limited purpose of establishing probable cause, l have not included each
and every fact known to me concerning this investigation Rather, l have
set forth only the facts that l believe are necessary to establish probable
cause to believe that Brandon Griesemer knowingly and willfully

transmitted in interstate and foreign commerce a cellular phone

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communication to Cable News Network (CNN), and that communication
contained a threat to injure employees of CNN, in violation of 18 U.S.C.

§ 875(0).

II. INVESTIGATION AND PR()BABLE CAUSE

4. On September 19, 2017, at approximately 9:49 AM, an
employee of the lslamic Center of Ann Arbor received a phone call from a
male caller, calling from cellular phone number (***) ***~**66. The caller
made derogatory comments relating to the mosque and Muslims. The
caller then hung up.

5. Using an online database, officers from the Ann Arbor Police
Department identified Adult Witness 1 (“AW-l”) as the person to whom
(***) ***-**66 is registered AW-l is Brandon Griesemer’s father.

6. On September 21, 2017, Ann Arbor police made contact with
Griesemer’s mother at the residence where she and Griesemer live.
Griesemer was not present at the time. Griesemer’s mother told officers
that Griesemer had told her that he had previously called a mosque.
Officers informed Griesemer’s mother that they would like to talk to

Griesemer, and that he should call them.

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7 . On the same day, Ann Arbor police officers received a telephone
call from Griesemer. Griesemer stated that he had called the mosque on
September 19, and that he was angry at the time of the call. -

8. On January 9, 2018, at approximately 3:06 Pl\/[, Cable News
Network (CNN) received a call to (***) ***-**OO-a landline located in
Atlanta, Georgia that is a publicly listed contact number for CNN-from
(***) ***-**66, the same number used to call the lslamic Center of Ann
Arbor on September 19, 2017. The call was made at 3:06 PM. When the
operator responded to the call, a male voice stated, “Fake news. l’m coming
to gun you all down. Fuck you, fuckin’ ni***rs.” The caller then hung up.

9. Approximately three minutes later, the same CNN number
received another call, again from (***) ***~**66. When the operator
responded to the call, the same male voice from the prior call began making
disparaging comments regarding CNN and instructing the operator that
CNN employees should kill themselves The caller then said “l am on my
way right now to gun the fuckin’ CNN cast down. Fuck you.” The operator
then asked the man for his name. The caller responded, “Fuck you. l am

coming to kill you.” The caller then hung up.

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10. Approximately thirty minutes later, the same CNN number
received another call, again from (***) ***-**66. When the operator
responded to the call, the same male voice from the prior call began
whispering further derogatory comments toward CNN. He stated, “l’m
coming for you CNN. I’m smarter than you. More powerful than you. I
have more guns than you. More manpower. Your cast is about to get
gunned down in a matter of hours.” The caller then hung up.

11. On January 9, Investigator G. Smith, employed by CNN,
conducted a search of law enforcement databases for the numer (***) ***-
**66. He learned that the number is registered to AW-l, Brandon
Griesemer’s father. lnvestigator Smith also learned that a second number
was associated with that wireless account: (***“) ***-**46. Investigator
Smith called (***) ***-**46 and asked to speak with AW-l. A man
answered the call, stated that AW-l was not home, and identified himself
as “Brandon.”

12. lnvestigator Smith recorded his conversation with Griesemer
at cell number (***) ***-**46 on January 9. He then compared the audio
of that recording with the recorded audio of the threatening calls made to

CNN, and confirmed that the voices sounded like the same individual

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13. On January 10, 2018, at approximately 6:37 Pl\/l, the same
CNN number received another call, again from (***) ***-**66. When the
operator responded to the call, the same male voice from the prior call
began making disparaging remarks regarding Jewish individuals He
stated, “You are going down. I have a gun and l am coming to Georgia
right now to go to the CNN headquarters to fucking gun every single last
one of you. l have a team of people. lt’s going to be great, man . . . . You
gotta get prepared for this one, buddy.” The caller then hung up.

14. On January 9 and January 10, 2018, Griesemer made
approximately 22 total calls to CNN, the above four of which contained
threats

15. lnvestigator Smith collected location data for (***) ***-**66--
the cellular phone number used to make threats against CNN. On January
9, 2018, that number accessed a cellular tower near 42075 West 11 l\/lile

Road, Novi, Michigan.

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III. CONCLUSION
16. Based on the above investigation, probable cause exists that
Brandon Griesemer knowingly and willfully transmitted in interstate
and foreign commerce a cellular phone communication to CNN, and that

communication contained a threat to injure employees of CNN, in

violation of 18 U.S.C. § 875(€).

Respectfully Submitted,

Sean Callaghan
Special Agent, FBI

Subscribed and sworn before me on January 19, 2018

 

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Hon. Anthony P. Patti
United States Magistrate Judge

 

